Case 8:22-cv-01074-CJC-ADS Document 17 Filed 06/13/22 Page 1 of 2 Page ID #:89



  1    AEGIS LAW FIRM, PC
       SAMUEL A. WONG, State Bar No. 217104
  2    KASHIF HAQUE, State Bar No. 218672
  3    FAWN F. BEKAM, State Bar No. 307312
       9811 Irvine Center Drive, Suite 100
  4    Irvine, California 92618
  5    Telephone: (949) 379-6250
       Facsimile: (949) 379-6251
  6    Email: fbekam@aegislawfirm.com
  7    Attorneys for Plaintiff Brent Dennard, individually,
       and on behalf of all others similarly situated.
  8

  9

 10                         UNITED STATES DISTRICT COURT
 11
                          CENTRAL DISTRICT OF CALIFORNIA
 12

 13
       BRENT DENNARD, individually             Case No. 8:22-cv-01074-CJC-ADS
       and on behalf of all others similarly
 14    situated,
 15
                                               NOTICE OF VOLUNTARY
                    Plaintiff,                 DISMISSAL
 16

 17
             vs.

 18    VIVID SEATS LLC; and DOES 1
 19
       through 20, inclusive,

 20                 Defendant.
 21

 22

 23

 24

 25

 26
 27

 28

                             NOTICE OF VOLUNTARY DISMISSAL
Case 8:22-cv-01074-CJC-ADS Document 17 Filed 06/13/22 Page 2 of 2 Page ID #:90



  1         Pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(i), Plaintiff hereby
  2   requests the dismissal of his individual claims with prejudice. Because Defendant
  3   Vivid Seats LLC has neither filed an answer nor moved for summary judgment,

  4
      Plaintiff has an absolute right to voluntary dismiss this case. See Fed. R. Civ. P.
      41(a)(1)(A)(i).
  5
            Plaintiff hereby requests the dismissal of the class action claims without
  6
      prejudice. No class has been certified in this matter, therefore Federal Rules of Civil
  7
      Procedure 23(e)’s exceptions do not apply.
  8

  9
       Dated: June 13, 2022              AEGIS LAW FIRM, PC
 10

 11

 12
                                         ____________________________________
 13                                      Fawn Bekam
 14
                                         Attorneys for Plaintiff Brent Dennard

 15

 16

 17

 18

 19
 20

 21

 22

 23

 24

 25

 26
 27

 28
                                           -1-
                             NOTICE OF VOLUNTARY DISMISSAL
